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11                            UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,               No. 8:23-CR-00042-CJC

14              Plaintiff,                   [PROPOSED] ORDER SEALING
                                             DECLARATION OF ANDREW M. ROACH IN
15                   v.                      SUPPORT OF OPPOSITION TO
                                             DEFENDANT’S MOTION TO DISMISS
16   ANASTASSIA KREZOUB,                     COUNT ONE OF THE INDICTMENT UNDER
       aka “Sylvia Kass,”                    THE FIRST AMENDMENT
17
                Defendant.
18
19          For good cause shown, IT IS HEREBY ORDERED THAT:
20          The government’s ex parte application for sealed filing is
21   GRANTED.   This document, the Declaration Of Andrew M. Roach In
22   Support Of Opposition To Defendant’s Motion To Dismiss Count One Of
23   The Indictment Under The First Amendment and supporting exhibits,
24   shall be filed under seal.
25

26

27   DATE                                    THE HONORABLE CORMAC J. CARNEY
                                             UNITED STATES DISTRICT JUDGE
28
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                                        #:407


1                                 IN CASE OF DENIAL:

2           The government’s ex parte application for sealed filing is

3    DENIED.   The underlying documents shall not be filed and they shall

4    be returned to the government.

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7    DATE                                    THE HONORABLE CORMAC J. CARNEY
                                             UNITED STATES DISTRICT JUDGE
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9    Presented by:

10
        /s/
11   ANDREW M. ROACH
     Assistant United States Attorney
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